          Case 3:15-cr-01572-BAS Document 102 Filed 03/14/17 PageID.463 Page 1 of 5
AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                                 FILED

                                      UNITED STATES DISTRICT Co·                                          CLERK, U.S. DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA                               ~UTHERN DISTRICT OF CALIFORNIA
                                                                                                                                DEPUTY
             UNITED STATES OF AMERICA 	                              JUDGMENT IN A CRIMINAL CASE
                                 v.                                  (For Offenses Committed On or After November 1, 1987)
                    PAUL ROBINSON (I)
                                                                        Case Number:          15CRI572-BAS

                                                                     BENJAMIN COLEMAN
                                                                     Defendant's Attorney
REGISTRATION NO.                 50885298


IZI pleaded guilty to count(s)        ONE (1) OF THE SUPERSEDING INFORMATION

      was found guilty on count(s)
    after a plea of not guilty. 

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s): 

                                                                                                                      Count
Title & Section                   Nature of Offense                                                                  Number(s)
18 USC 1518                       OBSTRUCTION OF CRIMINAL INVESTIGATION OF                                              1
                                  HEAL TH CARE OFFENSE




     The defendant is sentenced as provided in pages 2 through                 5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

o     The defendant has been found not guilty on count(s)

IZI Count(s)     UNDERLYING 	                                  are         dismissed on the motion of the United States.

      Assessment:   $100.00
IZI


IZI   No fine                     Forfeiture pursuant to order filed                                            , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                     MARCH 13.2017
                                                                     Date of Imposition of Sentence



                                                                     HO~OO 

                                                                     UNITED STATES DISTRICT JUDGE



                                                                                                                   15CR1572-BAS
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                PAUL ROBINSON (1)                                                       Judgment - Page 2 of 5
CASE NUMBER:              15CR1572-BAS



                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 SIX (6) MONTHS




 D	    Sentence imposed pursuant to Title 8 USC Section 1326(b).
       The court makes the following recommendations to the Bureau of Prisons:




       The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D     at _ _ _ _ _ _ _ _ A.M.                         on
       D     as notified by the United States Marshal.
                                                                  ------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of 

       Prisons: 

       ~     on or before APRIL 26,2017 BY 12:00 PM (NOON) 

       D     as notified by the United States Marshal. 

       D     as notified by the Probation or Pretrial Services Office. 


                                                      RETURN
 I have executed this judgment as follows:

       Defendant delivered on

at ________________ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL 




                                    By                     DEPUTY UNITED STATES MARSHAL


                                                                                                      15CR1572-BAS
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    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                    PAUL ROBINSON (1)                                                                             Judgment - Page 3 ofS
    CASE NUMBER:                  15CR1572-BAS

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shaH refrain from any unlawful use of a controlled 

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests 

thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the 

term of supervision, unless otherwise ordered by court. 

          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future 

          substance abuse. (Check, if applicable.) 

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. 

          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted ofa qualifying offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised re lease in accordance with the Schedule of
     Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer; 

     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer; 

     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer; 

     4)    the defendant shall support his or her dependents and meet other family responsibilities; 

     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable 

           reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
     11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
     13) 	 as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.



                                                                                                                                     15CR1572-BAS
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:             PAUL ROBINSON (I)                                                        Judgment - Page 4 of 5
CASE NUMBER:           15CR1572-BAS

                                SPECIAL CONDITIONS OF SUPERVISION


   1. 	 Participate in a program of mental health treatment as directed by the probation officer, take all
        medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
        permission. The court authorizes the release of the presentence report and available psychological
        evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
        release of information between the probation officer and the treatment provider. May be required to
        contribute to the costs of services rendered in an amount to be determined by the probation officer,
        based on ability to pay.

   2. 	 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   3. 	 Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

   4. 	 Provide complete disclosure of personal and business financial records to the probation officer as 

        requested. 


   5. 	 Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained,
        directly or indirectly, including any interest obtained under any other name, or entity, including a trust,
        partnership or corporation until the fine or restitution is paid in full.

   6. 	 Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
        owned, directly or indirectly, including any interest held or owned under any other name, or entity,
        including a trust, partnership or corporation.

   7. 	 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines
        of credit without approval of the probation officer.

   8. 	 The defendant shall participate for a period of Twenty Four (24) months in a home detention program
        which may include electronic monitoring for Six (6) months, GPS, Alcohol Monitoring Unit or automated
        identification systems and shall observe all rules of such program, as directed by the Probation Officer.
        The defendant shall maintain a residential telephone line without devices andlor services that may interrupt
        operation of the monitoring equipment, unless excused by the Probation Officer; The defendant shall pay
        the costs of home confinement monitoring to the contract vendor, not to exceed the sum of $12.00 for
        each day of participation. The defendant shall provide payment and proof of payment as instructed.

                                                                                                    15CR1572-BAS
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AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

   DEFENDANT:             PAUL ROBINSON                                                            Judgment - Page 5 of 5
   CASE NUMBER:           15CR1572-BAS

                                              RESTITUTION


  The defendant shall pay restitution in the amount of    $340,000
                                                         --C.-_-'---_ _ __      unto the United States of America.

  Pay restitution in the amount of $340,000 to CMS through the Clerk, U. S. District Court. Payment of
  restitution shall be forthwith. During any period of incarceration the defendant shall pay restitution through the
  Inmate Financial Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter,
  whichever is greater. The defendant shall pay the restitution during his supervised release at the rate of $500
  per month. These payment schedules do not foreclose the United States from exercising all legal actions,
  remedies, and process available to it to collect the restitution judgment.

  Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
  Attorney's Office of any change in the defendant's mailing or residence address, no later than thirty (30) days
  after the change occurs.

  Victim                                         Amount
  CMS                                            $340,000
  Division of Accounting Operations
  7500 Security Blvd.
  Mailstop C3-II-03
  Baltimore, Maryland 21244



  The Court has determined that the defendant     does         have the ability to pay interest.




                                                                                                              [Type text]
